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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


   General Tools & Instruments, LLC,

           Plaintiff,                                      Case No.: 1:20-cv-01036

   v.                                                      Judge Jorge L. Alonso

   THE PARTNERSHIPS AND                                    Magistrate Judge Susan E. Cox
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A”,

           Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                     DEFENDANT
                578                                  Taitan Tools Store
                679                Hangzhou Hangguan Hardware And Electromechanical
                                                 Equipment Co., Ltd.
                657                                Daily Tool Store
                415                                      TWQQUS
                16                                       luoshi2016
                278                                       wowtrust
                357                                     MIPS battery
                524                                       GULAKI
                371                                AOOKURTO TOOLS
                685                         Wenzhou Meters Int'l Trade Co., Ltd.
                461                                        Osaava
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DATED: May 31, 2020                         Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            11 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 31, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
